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                                                   Exhibit 20
       Designations of Deposition Testimony of Adam Kincaid as Representative for NRRT (November 2, 2023)


             Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                          Objections
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    204:17                   205:17
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     208:3                   208:11
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